Case 1:13-cr-00315-WHP Document 13-3 Filed 06/06/13 Page 1 of 4

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION
UNITED STATES OF AMERICA
PLAINTIFF,
Vv. Case No: 13-

FREDERIC CILINS,

DEFENDANT.

 

AFFIDAVIT OF FREDERIC CILINS

STATE OF FLORIDA

COUNTY OF ORANGE

I, FREDERIC CILINS, being duly sworn, depose and say:
1. My name is FREDERIC CILINS.

2. I am the legal owner OF HOLLYWOOD BEACHFRONT TOWNHOMES,
LLC, a Florida limited liability company (the “LLC”} and
the LLC is the owner of a property located at 2325 N. Surf
Road, 2325 N. Surf Road, and 2325 N. Surf Road 1, and 2325
N. Surf Road 4, in Hollywood, Florida 33019, with the
following legal description:

Parcel 1:

The East 34.05 feet of Lot 1, Block 12 of HOLLYWOOD
BEACH FIRST ADDITION, according to the Plat thereof,
as recorded in Piat Book 1, Page 31, of the Public
Records of Broward County, Florida.

Parcel 2:

The West 45.95 feet of Lots 1 and 2, Block 12 of
HOLLYWOOD BEACH FIRST ADDITION, according to the Plat
thereof, as recorded in Plat Book 1, Page 31, of the
Public Records of Broward County, Florida.
Case 1:13-cr-00315-WHP Document 13-3 Filed 06/06/13 Page 2 of 4

Parcel 3:

The East 34.05 feet of Lot 2, Block 12 of HOLLYWOOD
BEACH FIRST ADDITION, according to the Plat thereof,
as recorded in Plat Book 1, Page 31, of the Public
Records of Broward County, Florida.

3. The property has a value of at least $1,627,800.00.

4. The property is free and clear of all mortgagés.

5. tT am aware that the LLC is mortgaging the property to the
United States District Court for the Middle District of
Florida in the amount of $ .00 as security

for my release from detention and that this property may be
subject to foreclosure should I fail to comply with the
conditions of my bond.

6. I understand that any faise or fraudulent statements may
subject me to criminal proceedings.

FURTHER YOUR AFFIANY SAYETH NAUGHT.

 

Frederic Cilins

 

Sworn to before me this day of April, 2013, by FREDERIC
CILINS, who is known to me or produced as
identification.

 

Notary Public
My Commission Expires
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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION
UNITED STATES CF AMERICA
PLAINTIFF,
Vv. Case No: 13-
a

FREDERIC CILINS,

DEFENDANT.

 

AFFIDAVIT OF FREDERIC CILINS

STATE OF FLORIDA

COUNTY OF ORANGE

I, FREDERIC CILINS, being duly sworn, depose and say:
1. My name is FREDERIC CILINS.

2. i am the legal owner OF HOLLYWOOD BEACHFRONT TOWNHOMES
SOUTH, LLC, a Florida limited liability company (the “Luc”
and the LLC is the owner of a property located 2300 N. Surf
Road, in Holiywood, Florida 33019, with the following legal
description:

Lot 16, Block 11, and Lots 3 and 4, Block 12, of
HOLLYWOOD BEACH FIRST ADDITION, according to the
Plat thereof, as recorded in Plat Book 1, Page 31, of
the Public Records of Broward County, Florida.

3. The property has a value of at least $1,320,820.00.

4. The property is free and clear of all mortgages.

5. I am aware that the LLC is mortgaging the property to the
United States District Court for the Middle District of
Florida in the amount of $ -00 as security

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for my release from detention and that this property may be
subject to foreclosure should I fail to comply with the
conditions of my bond.
Case 1:13-cr-00315-WHP Document 13-3 Filed 06/06/13 Page 4 of 4

6. I understand that any false or fraudulent statements may
subject me to criminal proceedings.

FURTHER YOUR AFFIANT SAYETH NAUGHT.

 

Frederic Cilins

Sworn to before me this day of April, 2013, by FREDERIC
CILINS, who is known to me or produced as
identification.

 

 

Notary Public
My Commission Expires
